               Case 22-57594-lrc                                 Doc 52               Filed 11/21/22 Entered 11/21/22 12:44:33                                                                     Desc Main
                                                                                      Document     Page 1 of 27

 Fill in this information to identify the case:

                3333 Alpharetta Lifehope 10 Acre Land, LLC
  Debtor name _________________________________________________________________

                                          Northern District of Georgia
  United States Bankruptcy Court for the:_______________________ District of ________
                                                                                                                     (State)
                                        22-57594
  Case number (If known):              _________________________


                                                                                                                                                                                                      Check if this is an
                                                                                                                                                                                                         amended filing



Official Form 206Sum
Sum m a ry of Asse t s a nd Lia bilit ie s for N on-I ndividua ls                                                                                                                                                  12/15




Pa rt 1 :        Sum m a ry of Asse t s


1. Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

     1a. Real property:
                                                                                                                                                                                                      56,000,000.00
                                                                                                                                                                                                    $ __________________
           Copy line 88 from Schedule A/B ..........................................................................................................................................

     1b. Total personal property:                                                                                                                                                                          41,523.34
                                                                                                                                                                                                    $ __________________
           Copy line 91A from Schedule A/B ........................................................................................................................................

     1c. Total of all property:                                                                                                                                                                        56,041,523.34
                                                                                                                                                                                                    $ __________________
           Copy line 92 from Schedule A/B ..........................................................................................................................................




Pa rt 2 :        Sum m a ry of Lia bilit ie s




2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                                                                                                                                                                                                      29,116,408.03
                                                                                                                                                                                                    $ __________________
     Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D ................................................

3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)


     3a. Total claim amounts of priority unsecured claims:
                                                                                                                                                                                                                   0.00
                                                                                                                                                                                                    $ __________________
           Copy the total claims from Part 1 from line 6a of Schedule E/F .........................................................................................

     3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 6b of Schedule E/F .............................................................                                           +$ __________________
                                                                                                                                                                                                        3,468,414.61



4. Total liabilities ...........................................................................................................................................................................       32,584,822.64
                                                                                                                                                                                                    $ __________________
     Lines 2 + 3a + 3b




  Official Form 206Sum                                        Summary of Assets and Liabilities for Non-Individuals                                                                                       page 1
                 Case 22-57594-lrc             Doc 52       Filed 11/21/22 Entered 11/21/22 12:44:33                                Desc Main
   Fill in this information to identify the case:           Document     Page 2 of 27

   Debtor
                    3333 Alpharetta Lifehope 10 Acre Land, LLC
                    __________________________________________________________________

                                           Northern District of Georgia
   United States Bankruptcy Court for the: ________________________________

   Case number       22-57594
                     ___________________________________________
    (If known)

                                                                                                                                       Check if this is an
                                                                                                                                          amended filing
  Official Form 206E/F
  Sc he dule E/F: Cre dit ors Who Ha ve U nse c ure d Cla im s                                                                                      12/15
  Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY
  unsecured claims. List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts
  on Schedule A/B: Assets - Real and Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases
  (Official Form 206G). Number the entries in Parts 1 and 2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach
  the Additional Page of that Part included in this form.

 Pa rt 1 :       List All Cre ditors w ith PRI ORI T Y U nse c ure d Cla im s

 1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).
        No. Go to Part 2.
    
    ✔    Yes. Go to line 2.

 2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than
    3 creditors with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                         Total claim                  Priority amount
2.1 Priority creditor’s name and mailing address            As of the petition filing date, the claim is: $______________________
                                                                                                           0.00
    Georgia Department of Labor                                                                                                       $_________________
                                                            Check all that apply.
    148 Andrew Young Inter. Blvd                               Contingent
    Room 738                                                   Unliquidated
    Atlanta, GA, 30303-0000                                    Disputed

                                                            Basis for the claim:
    Date or dates debt was incurred                          Taxes & Other Government Units
    _________________________________

    Last 4 digits of account                                Is the claim subject to offset?
    number      _______________________                     ✔ No

                                                             Yes
    Specify Code subsection of PRIORITY unsecured
                                8
    claim: 11 U.S.C. § 507(a) (_____)
    Priority creditor’s name and mailing address
2.2 Georgia Department of Revenue                           As of the petition filing date, the claim is: $______________________
                                                                                                            0.00                      $_________________
                                                            Check all that apply.
    ARCS - Bankruptcy 1800 Century Blvd NE, Suite
    9100                                                       Contingent
                                                               Unliquidated
     Atlanta, GA, 30345                                        Disputed

                                                            Basis for the claim:
    Date or dates debt was incurred
                                                             Taxes & Other Government Units
    _________________________________

    Last 4 digits of account
    number      _______________________                     Is the claim subject to offset?
                                                            ✔ No

    Specify Code subsection of PRIORITY unsecured            Yes
    claim: 11 U.S.C. § 507(a) (_____)
                                8
2.3 Priority creditor’s name and mailing address            As of the petition filing date, the claim is: $______________________
                                                                                                           0.00
    Internal Revenue Service                                                                                                          $_________________
                                                            Check all that apply.
    CIO
                                                               Contingent
    P.O. Box 7346                                              Unliquidated
    Philadelphia, PA, 19101-7346                               Disputed

                                                            Basis for the claim:
    Date or dates debt was incurred                          Taxes & Other Government Units
    _________________________________

    Last 4 digits of account
    number      _______________________                     Is the claim subject to offset?
                                                            ✔
                                                                 No
    Specify Code subsection of PRIORITY unsecured            Yes
    claim: 11 U.S.C. § 507(a) (_____)
                               8


  Official Form 206E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                                 8
                                                                                                                                           page 1 of ___
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              3333 Alpharetta Lifehope 10 AcreDoc    52
                                               Land, LLC   Filed 11/21/22 Entered 11/21/22 12:44:33      22-57594 Desc Main
  Debtor        _______________________________________________________           Case number (if known)_____________________________________
                Name                                       Document     Page 3 of 27
 Pa rt 2 :   List All Cre ditors w ith NONPRI ORI T Y U nse c ure d Cla ims

 3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority
    unsecured claims, fill out and attach the Additional Page of Part 2.
                                                                                                                             Amount of claim
                                                                           As of the petition filing date, the claim is:
3.1 Nonpriority creditor’s name and mailing address                        Check all that apply.
    A and S Lock and Safe                                                                                                    305.25
                                                                                                                           $________________________________
                                                                              Contingent
    c/o SUZETTE L. DAVIS                                                      Unliquidated
    440-A CANTON ROAD                                                         Disputed
    Canton, GA, 30040                                                                              Suppliers or Vendors
                                                                           Basis for the claim:



    Date or dates debt was incurred            01/26/2017
                                               ___________________          Is the claim subject to offset?

    Last 4 digits of account number            ___________________         
                                                                           ✔   No
                                                                              Yes

3.2 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
    Brightside IT Solutions                                                Check all that apply.                             4,626.25
                                                                                                                           $________________________________
    2410 Satellite Blvd Suite F                                               Contingent
                                                                              Unliquidated
    Buford, GA, 30518                                                         Disputed
                                                                           Basis for the claim:
                                                                                                   Suppliers or Vendors


    Date or dates debt was incurred            06/03/2020
                                               ___________________         Is the claim subject to offset?
                                                                           
                                                                           ✔   No
    Last 4 digits of account number            __________________             Yes
                                                                           As of the petition filing date, the claim is:
3.3 Nonpriority creditor’s name and mailing address                        Check all that apply.
    Brucker HVAC, LLC                                                                                                        6,740.00
                                                                                                                           $________________________________
                                                                              Contingent
    5247 LOCKWOOD LANE                                                        Unliquidated
    c/o CARL R. BRUCKER                                                       Disputed
    Powder Springs, GA, 30127
                                                                           Basis for the claim:
                                                                                                   Suppliers or Vendors

    Date or dates debt was incurred            09/11/2019
                                               ___________________
                                                                            Is the claim subject to offset?
    Last 4 digits of account number            __________________          
                                                                           ✔   No
                                                                              Yes
3.4 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
    Chief Electric, LLC - Station 5                                        Check all that apply.
                                                                                                                             525.00
                                                                                                                           $________________________________
    2500 Daniell's Bridge Road, Building 200,                                 Contingent
    Suite 3A, c/o Scott Lowry                                                 Unliquidated
    Athens, GA, 30606                                                         Disputed
                                                                            Basis for the claim:
                                                                                                   Suppliers or Vendors

    Date or dates debt was incurred            02/14/2022
                                               ___________________         Is the claim subject to offset?

    Last 4 digits of account number            __________________          
                                                                           ✔
                                                                               No
                                                                              Yes
3.5 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
    Chief Fire Protection Company, Inc.                                                                                      1,008.00
                                                                                                                           $________________________________
                                                                           Check all that apply.
    2500 Daniell's Bridge Road, Building 200,                                 Contingent
    Suite 3A, c/o Scott Lowry                                                 Unliquidated
    Athens, GA, 30606                                                         Disputed
                                                                           Basis for the claim:
                                                                                                   Suppliers or Vendors

    Date or dates debt was incurred            06/05/2022
                                               ___________________
                                                                           Is the claim subject to offset?
    Last 4 digits of account number            __________________          
                                                                           ✔   No
                                                                              Yes
3.6 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
    Dogwood Facilities Services LLC                                                                                          8,928.38
                                                                                                                           $________________________________
                                                                           Check all that apply.
    c/o Scott Traywick                                                        Contingent
    1216 Weeping Willow                                                       Unliquidated
    Woodstock, GA, 30188-4650                                                 Disputed
                                                                           Basis for the claim:    Suppliers or Vendors

    Date or dates debt was incurred            ___________________
                                               01/11/2017                  Is the claim subject to offset?
    Last 4 digits of account number            ___________________         
                                                                           ✔
                                                                               No
                                                                              Yes


    Official Form 206E/F                           Schedule E/F: Creditors Who Have Unsecured Claims                                              page __    8
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               Case   22-57594-lrc
                3333 Alpharetta Lifehope 10 AcreDoc
                                                 Land, 52
                                                       LLC   Filed 11/21/22 Entered 11/21/22 12:44:33      22-57594 Desc Main
  Debtor          _______________________________________________________           Case number (if known)_____________________________________
                  Name                                       Document     Page 4 of 27
Pa rt 2 :     Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                            Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  7
3.___ Nonpriority creditor’s name and mailing address                    As of the petition filing date, the claim is:
                                                                         Check all that apply.                             206.59
                                                                                                                         $________________________________
 Dormakaba USA, Inc.                                                        Contingent
 c/o Corporation Service Company                                            Unliquidated
 2 SUN COURT, SUITE 400                                                     Disputed
 Norcross, GA, 30092
                                                                         Basis for the claim: Suppliers or Vendors



                                                                         Is the claim subject to offset?
        Date or dates debt was incurred            07/30/2021
                                                  ___________________
                                                                         
                                                                         ✔
                                                                             No
                                                                            Yes
        Last 4 digits of account number           ___________________
  8
3.___ Nonpriority creditor’s name and mailing address
                                                                         As of the petition filing date, the claim is:
                                                                         Check all that apply.
                                                                                                                           429.69
                                                                                                                         $________________________________
 Ecolab, Inc.
 c/o CT Corporation System                                                  Contingent
 289 S. Culver St.                                                          Unliquidated
 Lawrenceville, GA, 30046-4805                                              Disputed

                                                                         Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred            02/04/2020
                                                  ___________________    Is the claim subject to offset?
        Last 4 digits of account number           ___________________
                                                                         
                                                                         ✔
                                                                             No
                                                                            Yes
  9
3.___ Nonpriority creditor’s name and mailing address
                                                                         As of the petition filing date, the claim is:
 Exmoor LLC                                                              Check all that apply.
                                                                                                                          2,300.00
                                                                                                                         $________________________________
 c/o Michael Nation                                                         Contingent
 184 Richaven Place                                                         Unliquidated
 Dallas, GA, 30132                                                          Disputed
                                                                         Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred           ___________________
                                                  11/11/2021             Is the claim subject to offset?
        Last 4 digits of account number           __________________     
                                                                         ✔
                                                                             No
                                                                            Yes
  10
3.___ Nonpriority creditor’s name and mailing address
                                                                         As of the petition filing date, the claim is:
                                                                                                                          600.00
                                                                                                                         $________________________________
 First Link, LLC                                                         Check all that apply.
 c/o Frank Cho                                                              Contingent
 1490 Belmont Hills Dr                                                      Unliquidated
 Suwanee, GA, 30024                                                         Disputed

                                                                         Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred            06/22/2022
                                                  ___________________    Is the claim subject to offset?
                                                                         
                                                                         ✔
                                                                             No
        Last 4 digits of account number           ___________________       Yes
  11
3.___ Nonpriority creditor’s name and mailing address
                                                                         As of the petition filing date, the claim is:
 Genesis Elevator Company, Inc.                                          Check all that apply.
                                                                                                                           60,000.00
                                                                                                                         $________________________________
 3400 Blue Springs Road NW                                                  Contingent
 Suite 110                                                                  Unliquidated
 Kennesaw, GA, 30144                                                        Disputed
                                                                         Basis for the claim:



        Date or dates debt was incurred           ____________________   Is the claim subject to offset?
                                                                         
                                                                         ✔
                                                                             No
        Last 4 digits of account number           ___________________       Yes




       Official Form 206E/F                          Schedule E/F: Creditors Who Have Unsecured Claims                                                     8
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                                                 Land, 52
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Pa rt 2 :     Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                            Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  12
3.___ Nonpriority creditor’s name and mailing address                    As of the petition filing date, the claim is:
                                                                         Check all that apply.                             2,694,308.04
                                                                                                                         $________________________________
 Honan Preferred Equity                                                     Contingent
 3330 Preston Ridge Road                                                    Unliquidated
 Suite 380                                                                  Disputed
 Alpharetta, GA, 30005
                                                                         Basis for the claim:



                                                                         Is the claim subject to offset?
        Date or dates debt was incurred           ___________________
                                                                         
                                                                         ✔
                                                                             No
                                                                            Yes
        Last 4 digits of account number           ___________________
  13
3.___ Nonpriority creditor’s name and mailing address
                                                                         As of the petition filing date, the claim is:
                                                                         Check all that apply.
                                                                                                                           677,748.26
                                                                                                                         $________________________________
 Honan Property Management
 3330 Preston Ridge Road                                                    Contingent
 Suite 380                                                                  Unliquidated
 Alpharetta, GA, 30005                                                      Disputed

                                                                         Basis for the claim:



        Date or dates debt was incurred           ___________________    Is the claim subject to offset?
        Last 4 digits of account number           ___________________
                                                                         
                                                                         ✔
                                                                             No
                                                                            Yes
  14
3.___ Nonpriority creditor’s name and mailing address
                                                                         As of the petition filing date, the claim is:
 Integra Realty Resources                                                Check all that apply.
                                                                                                                          500.00
                                                                                                                         $________________________________
 c/o Matthew Albigese                                                       Contingent
 5256 Peachtree Rd., Suite 115                                              Unliquidated
 Atlanta, GA, 30341                                                         Disputed
                                                                         Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred           ___________________
                                                  05/17/2021             Is the claim subject to offset?
        Last 4 digits of account number           __________________     
                                                                         ✔
                                                                             No
                                                                            Yes
  15
3.___ Nonpriority creditor’s name and mailing address
                                                                         As of the petition filing date, the claim is:
                                                                                                                          200.00
                                                                                                                         $________________________________
 Lanier Extermination Service, Inc.                                      Check all that apply.
 c/o Gary Hickman                                                           Contingent
 5905 Steeplechase Blvd, Ste 800                                            Unliquidated
 Cumming, GA, 30040                                                         Disputed

                                                                         Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred            02/28/2015
                                                  ___________________    Is the claim subject to offset?
                                                                         
                                                                         ✔
                                                                             No
        Last 4 digits of account number           ___________________       Yes
  16
3.___ Nonpriority creditor’s name and mailing address
                                                                         As of the petition filing date, the claim is:
 Lynne Klein                                                             Check all that apply.
                                                                                                                           114.05
                                                                                                                         $________________________________
 110 Viewpoint Dr. E                                                        Contingent
                                                                            Unliquidated
 Boerne, TX, 78006                                                          Disputed
                                                                         Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred            11/11/2020
                                                  ____________________   Is the claim subject to offset?
                                                                         
                                                                         ✔
                                                                             No
        Last 4 digits of account number           ___________________       Yes




       Official Form 206E/F                          Schedule E/F: Creditors Who Have Unsecured Claims                                                     8
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Pa rt 2 :     Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                            Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  17
3.___ Nonpriority creditor’s name and mailing address                    As of the petition filing date, the claim is:
                                                                         Check all that apply.                             325.00
                                                                                                                         $________________________________
 McCain Power Solutions, LLC                                                Contingent
 c/o United States Corporation Agents, Inc.                                 Unliquidated
 1420 Southlake Plaza Dr.                                                   Disputed
 Morrow, GA, 30260
                                                                         Basis for the claim: Suppliers or Vendors



                                                                         Is the claim subject to offset?
        Date or dates debt was incurred            08/04/2021
                                                  ___________________
                                                                         
                                                                         ✔
                                                                             No
                                                                            Yes
        Last 4 digits of account number           ___________________
  18
3.___ Nonpriority creditor’s name and mailing address
                                                                         As of the petition filing date, the claim is:
                                                                         Check all that apply.
                                                                                                                           150.00
                                                                                                                         $________________________________
 Pepper's Backflow Services
 2944 Seagull Drive                                                         Contingent
                                                                            Unliquidated
 Duluth, GA, 30096                                                          Disputed

                                                                         Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred            07/09/2021
                                                  ___________________    Is the claim subject to offset?
        Last 4 digits of account number           ___________________
                                                                         
                                                                         ✔
                                                                             No
                                                                            Yes
  19
3.___ Nonpriority creditor’s name and mailing address
                                                                         As of the petition filing date, the claim is:
 Serv'All Plumbing & Rooter Services                                     Check all that apply.
                                                                                                                          1,526.00
                                                                                                                         $________________________________
 4400 Pecan Ln SE                                                           Contingent
                                                                            Unliquidated
 Acworth, GA, 30102                                                         Disputed
                                                                         Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred           ___________________
                                                  02/03/2020             Is the claim subject to offset?
        Last 4 digits of account number           __________________     
                                                                         ✔
                                                                             No
                                                                            Yes
  20
3.___ Nonpriority creditor’s name and mailing address
                                                                         As of the petition filing date, the claim is:
                                                                                                                          570.00
                                                                                                                         $________________________________
 Southern Inspection Group Inc.                                          Check all that apply.
 c/o John Gillespie                                                         Contingent
 2210 ATHENS HWY                                                            Unliquidated
 Elberton, GA, 30635                                                        Disputed

                                                                         Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred            05/15/2022
                                                  ___________________    Is the claim subject to offset?
                                                                         
                                                                         ✔
                                                                             No
        Last 4 digits of account number           ___________________       Yes
  21
3.___ Nonpriority creditor’s name and mailing address
                                                                         As of the petition filing date, the claim is:
 Superior Water Services Inc                                             Check all that apply.
                                                                                                                           882.70
                                                                                                                         $________________________________
 c/o Robert J Gsegner                                                       Contingent
 1236 Channel Park                                                          Unliquidated
 Marietta, GA, 30065                                                        Disputed
                                                                         Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred            12/31/2010
                                                  ____________________   Is the claim subject to offset?
                                                                         
                                                                         ✔
                                                                             No
        Last 4 digits of account number           ___________________       Yes




       Official Form 206E/F                          Schedule E/F: Creditors Who Have Unsecured Claims                                                     8
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Pa rt 2 :     Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                            Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  22
3.___ Nonpriority creditor’s name and mailing address                    As of the petition filing date, the claim is:
                                                                         Check all that apply.                             391.40
                                                                                                                         $________________________________
 TefftNet, Inc. / IMPAK                                                     Contingent
 9575 Katy Freeway, Suite 360                                               Unliquidated
                                                                            Disputed
 Houston, TX, 77024
                                                                         Basis for the claim: Suppliers or Vendors



                                                                         Is the claim subject to offset?
        Date or dates debt was incurred            01/10/2015
                                                  ___________________
                                                                         
                                                                         ✔
                                                                             No
                                                                            Yes
        Last 4 digits of account number           ___________________
  23
3.___ Nonpriority creditor’s name and mailing address
                                                                         As of the petition filing date, the claim is:
                                                                         Check all that apply.
                                                                                                                           6,030.00
                                                                                                                         $________________________________
 United Fire Protection, Inc
 c/o National Registered Agents, Inc.                                       Contingent
 289 S. Culver Street                                                       Unliquidated
 Lawrenceville, GA, 30046                                                   Disputed

                                                                         Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred            03/08/2022
                                                  ___________________    Is the claim subject to offset?
        Last 4 digits of account number           ___________________
                                                                         
                                                                         ✔
                                                                             No
                                                                            Yes

3.___ Nonpriority creditor’s name and mailing address
                                                                         As of the petition filing date, the claim is:
                                                                         Check all that apply.                           $________________________________
                                                                            Contingent
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:



        Date or dates debt was incurred           ___________________    Is the claim subject to offset?
        Last 4 digits of account number           __________________        No
                                                                            Yes
3.___ Nonpriority creditor’s name and mailing address
                                                                         As of the petition filing date, the claim is:
                                                                         Check all that apply.                           $________________________________
                                                                            Contingent
                                                                            Unliquidated
                                                                            Disputed

                                                                         Basis for the claim:



        Date or dates debt was incurred           ___________________    Is the claim subject to offset?
                                                                            No
        Last 4 digits of account number           ___________________       Yes

3.___ Nonpriority creditor’s name and mailing address
                                                                         As of the petition filing date, the claim is:
                                                                         Check all that apply.                           $________________________________
                                                                            Contingent
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:



        Date or dates debt was incurred           ____________________   Is the claim subject to offset?
                                                                            No
        Last 4 digits of account number           ___________________       Yes




       Official Form 206E/F                          Schedule E/F: Creditors Who Have Unsecured Claims                                                     8
                                                                                                                                                     6 of ___
                                                                                                                                                page __
                 Case   22-57594-lrc
                  3333 Alpharetta Lifehope 10 AcreDoc    52
                                                  Land, LLC     Filed 11/21/22 Entered 11/21/22 12:44:33     22-57594 Desc Main
     Debtor         _______________________________________________________            Case number (if known)_____________________________________
                    Name                                        Document     Page 8 of 27
Pa rt 3 :           List Ot he rs t o Be N ot ifie d About Unse c ure d Cla ims


4.     List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
       assignees of claims listed above, and attorneys for unsecured creditors.
       If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.



              Name and mailing address                                                         On which line in Part 1 or Part 2 is the         Last 4 digits of
                                                                                               related creditor (if any) listed?                account number, if
                                                                                                                                                any
          Department of Justice, Tax Division
4.1.      Civil Trial Section, Southern Region                                                      2.3
                                                                                               Line _____
          P. O. Box 14198, Ben Franklin Station                                                                                                 ________________
          Washington, DC, 20044                                                                     Not listed. Explain:


          Internal Revenue Service
4.2.
          401 W. Peachtree Street, N.W. Stop 334-D                                             Line 2.3
                                                                                                    _____
          Atlanta, GA, 30308                                                                      Not listed. Explain                          ________________



          United States Attorney                                                                    2.3
4.3.                                                                                           Line _____
          600 Russell B. Russell Building
          75 Ted Turner Drive, S.W                                                                Not listed. Explain                          ________________
          Atlanta, GA, 30303
          United States Attorney General
4.4.      U.S. Department of Justice                                                                2.3
                                                                                               Line _____
          950 Pennsylvania Avenue, NW                                                                                                           ________________
          Washington, DC, 20530
                                                                                                  Not listed. Explain

41.                                                                                            Line _____

                                                                                                  Not listed. Explain                          ________________



4.5.                                                                                           Line _____

                                                                                                  Not listed. Explain                          ________________



4.6.                                                                                           Line _____

                                                                                                  Not listed. Explain                          ________________



4.7.                                                                                           Line _____

                                                                                                  Not listed. Explain                          ________________



4.8.                                                                                           Line _____

                                                                                                  Not listed. Explain                          ________________



4.9.                                                                                           Line _____

                                                                                                  Not listed. Explain                          ________________



4.10.                                                                                          Line _____

                                                                                                  Not listed. Explain                          ________________



4.11.
                                                                                               Line _____

                                                                                                  Not listed. Explain                          ________________




       Official Form 206E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                                  page __    8
                                                                                                                                                                7 of ___
            Case   22-57594-lrc
             3333 Alpharetta Lifehope 10 AcreDoc   52
                                             Land, LLC   Filed 11/21/22 Entered 11/21/22 12:44:33       22-57594 Desc Main
 Debtor        _______________________________________________________          Case number (if known)_____________________________________
               Name                                      Document     Page 9 of 27
Pa rt 4 :    T ot a l Amount s of the Priority a nd N onpriorit y Unse c ure d Cla im s


5. Add the amounts of priority and nonpriority unsecured claims.




                                                                                                             Total of claim amounts



5a. Total claims from Part 1                                                                      5a.
                                                                                                               0.00
                                                                                                             $_____________________________




5b. Total claims from Part 2                                                                      5b.   +      3,468,414.61
                                                                                                             $_____________________________




5c. Total of Parts 1 and 2                                                                                     3,468,414.61
                                                                                                  5c.        $_____________________________
   Lines 5a + 5b = 5c.




   Official Form 206E/F                          Schedule E/F: Creditors Who Have Unsecured Claims                                    page __    8
                                                                                                                                           8 of ___
            Case 22-57594-lrc                Doc 52        Filed 11/21/22 Entered 11/21/22 12:44:33                                 Desc Main
                                                          Document      Page 10 of 27
 Fill in this information to identify the case:

             3333 Alpharetta Lifehope 10 Acre Land, LLC
 Debtor name __________________________________________________________________

                                         Northern District of Georgia
 United States Bankruptcy Court for the:______________________

                            22-57594                                         11
 Case number (If known):    _________________________                Chapter _____



                                                                                                                                         Check if this is an
                                                                                                                                            amended filing

Official Form 206G
Sc he dule G: Ex e c ut ory Cont ra c t s a nd U ne x pire d Le a se s                                                                                12/15

Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, numbering the entries consecutively.

 1. Does the debtor have any executory contracts or unexpired leases?
          No. Check this box and file this form with the court with the debtor’s other schedules. There is nothing else to report on this form.
         Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Assets - Real and Personal Property (Official
       Form 206A/B).
 2. List all contracts and unexpired leases                                               State the name and mailing address for all other parties with
                                                                                          whom the debtor has an executory contract or unexpired lease
                                       Ground Lease                                      Safehold, Inc.
         State what the contract or    Lessee                                            c/o Corporation Service Company
 2.1     lease is for and the nature
         of the debtor’s interest
                                                                                         2 SUN COURT, SUITE 400
                                                                                         Norcross, GA, 30092
         State the term remaining
                                       91 years
         List the contract number of
         any government contract

                                       Property Management Contract                      Honan Property Management
         State what the contract or                                                      3330 Preston Ridge Road
 2.2     lease is for and the nature
         of the debtor’s interest                                                        Suite 380
                                                                                         Alpharetta, GA, 30005
         State the term remaining      200 months
         List the contract number of
         any government contract


         State what the contract or
 2.3     lease is for and the nature
         of the debtor’s interest

         State the term remaining
         List the contract number of
         any government contract


         State what the contract or
 2.4
         lease is for and the nature
         of the debtor’s interest

         State the term remaining
         List the contract number of
         any government contract


         State what the contract or
 2.5     lease is for and the nature
         of the debtor’s interest

         State the term remaining
         List the contract number of
         any government contract




Official Form 206G                           Schedule G: Executory Contracts and Unexpired Leases                                                        1
                                                                                                                                              page 1 of ___
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Fill in this information to identify the case:
             3333 Alpharetta Lifehope 10 Acre Land, LLC
Debtor name __________________________________________________________________

                                        ______________________
United States Bankruptcy Court for the: Northern District of Georgia District of _________
                                                                              (State)
Case number (If known):   _________________________
                           22-57594                                                              ___________________________________________



                                                                                                                                      Check if this is an
                                                                                                                                         amended filing


Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                    04/22

The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).


 Part 1:        Income



 1. Gross revenue from business

        None

            Identify the beginning and ending dates of the debtor’s fiscal year, which        Sources of revenue                   Gross revenue
            may be a calendar year                                                            Check all that apply                 (before deductions and
                                                                                                                                   exclusions)

           From the beginning of the                                                            Operating a business                       2,490,009.23
           fiscal year to filing date:           01/01/2022
                                           From ___________         to     Filing date          Other                             $_____________________
                                                  MM / DD / YYYY


           For prior year:                       01/01/2021
                                           From ___________         to     12/31/2021
                                                                           ___________          Operating a business                       3,641,319.62
                                                                                                                                   $_____________________
                                                  MM / DD / YYYY            MM / DD / YYYY
                                                                                                Other
           For the year before that:             01/01/2022
                                           From ___________         to     12/31/2022
                                                                           ___________          Operating a business                       3,470,692.97
                                                  MM / DD / YYYY            MM / DD / YYYY                                         $_____________________
                                                                                                Other


 2. Non-business revenue
    Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected
    from lawsuits, and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

     
     ✔   None

                                                                                              Description of sources of revenue    Gross revenue from each
                                                                                                                                   source
                                                                                                                                   (before deductions and
                                                                                                                                   exclusions)

           From the beginning of the
                                                                                              ___________________________         $__________________
           fiscal year to filing date: From ___________             to      Filing date
                                                  MM / DD / YYYY



           For prior year:                 From ___________         to      ___________
                                                  MM / DD / YYYY             MM / DD / YYYY   ___________________________         $__________________



           For the year before that:       From ___________         to      ___________
                                                  MM / DD / YYYY             MM / DD / YYYY   ___________________________         $__________________




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Debtor
                 3333 Alpharetta Lifehope 10 Acre Land, LLC
                 _______________________________________________________                                              22-57594
                                                                                               Case number (if known)_____________________________________
                 Name




 Part 2:        List Certain Transfers Made Before Filing for Bankruptcy

 3. Certain payments or transfers to creditors within 90 days before filing this case
    List payments or transfersincluding expense reimbursementsto any creditor, other than regular employee compensation, within 90
    days before filing this case unless the aggregate value of all property transferred to that creditor is less than $7,575. (This amount may be
    adjusted on 4/01/23 and every 3 years after that with respect to cases filed on or after the date of adjustment.)

           None

             Creditor’s name and address                       Dates          Total amount or value         Reasons for payment or transfer
                                                                                                            Check all that apply
     3.1.
              Georgia Power Company
             __________________________________________                       $_________________
                                                                               10,606.24                         Secured debt
             Creditor’s name
              96 Annex
                                                                                                                 Unsecured loan repayments
              Atlanta, GA 30396                                                                                  Suppliers or vendors

                                                                                                                 Services

                                                                                                            
                                                                                                            ✔     Other _______________________________


     3.2.

              Curepoint, LLC                                                  $_________________
                                                                               24,942.00                         Secured debt
             __________________________________________
             Creditor’s name                                                                                     Unsecured loan repayments
              11175 Cicero Drive
              Suite 100                                                                                          Suppliers or vendors
              Alpharetta, GA 30022                                                                               Services

                                                                                                            
                                                                                                            ✔     Other _______________________________


 4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
    List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or
    guaranteed or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than
    $7,575. (This amount may be adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of adjustment.)
    Do not include any payments listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their
    relatives; general partners of a partnership debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing
    agent of the debtor. 11 U.S.C. § 101(31).

           None

             Insider’s name and address                        Dates          Total amount or value        Reasons for payment or transfer
     4.1.
             See attached
             __________________________________________      _________       $__________________
             Insider’s name

                                                             _________

                                                             _________


             Relationship to debtor
             __________________________________________



     4.2.    __________________________________________
             Insider’s name
                                                             _________       $__________________

                                                             _________

                                                             _________




             Relationship to debtor

             __________________________________________



Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                               page 2
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Debtor
                 3333 Alpharetta Lifehope 10 Acre Land, LLC
                 _______________________________________________________                                                  22-57594
                                                                                                   Case number (if known)_____________________________________
                 Name




 5. Repossessions, foreclosures, and returns
     List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor,
     sold at a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.
     None
    ✔
            Creditor’s name and address                        Description of the property                                Date                Value of property
     5.1.

            __________________________________________                                                                    ______________      $___________
            Creditor’s name




     5.2.
            __________________________________________
            Creditor’s name                                                                                               _______________       $___________




 6. Setoffs

     List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account of
     the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a debt.
     None
    ✔
             Creditor’s name and address                           Description of the action creditor took                Date action was        Amount
                                                                                                                          taken

             __________________________________________                                                                  _______________      $___________
             Creditor’s name




                                                                Last 4 digits of account number: XXXX– ________


  Part 3:       Legal Actions or Assignments

 7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
     List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor
     was involved in any capacity—within 1 year before filing this case.

           None
             Case title                              Nature of case                           Court or agency’s name and address               Status of case
            Genesis Elevator Company, Inc. v.                                                Fulton County Superior Court Georgia
     7.1.   Pencor, LLC, 3333 Old Milton             Collections                                                                               
                                                                                                                                               ✔   Pending
            Alpharetta, LLC, and 3333 Alpharetta
            Lifehope 10 Acre Land, LLC                                                                                                            On appeal

             Case number                                                                     160 Pryor Street                                     Concluded
                                                                                             Atlanta, GA 30303
      2021CV353024
             _________________________________

             Case title                                                                       Court or agency’s name and address
                                                                                                                                                  Pending
     7.2.
                                                                                                                                                  On appeal

             Case number
                                                                                                                                                  Concluded




             _________________________________


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Debtor
                 3333 Alpharetta Lifehope 10 Acre Land, LLC
                 _______________________________________________________                                                  22-57594
                                                                                                    Case number (if known)_____________________________________
                 Name




 8. Assignments and receivership
     List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the
     hands of a receiver, custodian, or other court-appointed officer within 1 year before filing this case.
     None
    ✔
             Custodian’s name and address                        Description of the property                        Value

             __________________________________________          ______________________________________             $_____________
             Custodian’s name
                                                                 Case title                                         Court name and address

                                                                 ______________________________________           __________________________________________
                                                                                                                  Name
                                                                 Case number


                                                                 ______________________________________
                                                                 Date of order or assignment

                                                                 ______________________________________

 Part 4:        Certain Gifts and Charitable Contributions

 9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value
     of the gifts to that recipient is less than $1,000
     None
    ✔
             Recipient’s name and address                        Description of the gifts or contributions                   Dates given           Value


     9.1.
            __________________________________________                                                                       _________________   $__________
            Recipient’s name


                                                                                                                             _________________   $__________




             Recipient’s relationship to debtor
             __________________________________________


            __________________________________________                                                                       _________________   $__________
     9.2. Recipient’s name



                                                                                                                             _________________    $__________




             Recipient’s relationship to debtor
             __________________________________________


 Part 5:        Certain Losses

 10. All losses from fire, theft, or other casualty within 1 year before filing this case.

     None
    ✔
             Description of the property lost and how the loss   Amount of payments received for the loss                    Date of loss        Value of property
             occurred                                            If you have received payments to cover the loss, for                            lost
                                                                 example, from insurance, government compensation, or
                                                                 tort liability, list the total received.
                                                                 List unpaid claims on Official Form 106A/B (Schedule A/B:
                                                                 Assets – Real and Personal Property).


                                                                 ___________________________________________                 _________________   $__________



Official Form 207                             Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                page 4
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Debtor
                3333 Alpharetta Lifehope 10 Acre Land, LLC
               _______________________________________________________                                                   22-57594
                                                                                                  Case number (if known)_____________________________________
               Name




 Part 6:      Certain Payments or Transfers

 11. Payments related to bankruptcy
     List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before
     the filing of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring,
     seeking bankruptcy relief, or filing a bankruptcy case.

          None

            Who was paid or who received the transfer?        If not money, describe any property transferred            Dates              Total amount or
                                                                                                                                            value

            Rountree, Leitman, Klein & Geer, LLC
            __________________________________________        Retainer & Filing fee
   11.1.                                                                                                                 09/2022
                                                                                                                         ______________      $_________
                                                                                                                                               25,000.00
            Address

            2987 Clairmont Road, Suite 350
            Atlanta, GA 30329




            Email or website address
            www.rlkglaw.com
            _________________________________

            Who made the payment, if not debtor?


            __________________________________________


            Who was paid or who received the transfer?        If not money, describe any property transferred            Dates              Total amount or
                                                                                                                                            value


   11.2.    __________________________________________
                                                                                                                         ______________      $_________
            Address




            Email or website address


            __________________________________________


            Who made the payment, if not debtor?

            __________________________________________

 12. Self-settled trusts of which the debtor is a beneficiary
     List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case to
     a self-settled trust or similar device.
     Do not include transfers already listed on this statement.

     
     ✔     None

            Name of trust or device                           Describe any property transferred                           Dates transfers    Total amount or
                                                                                                                          were made          value


            __________________________________________                                                                    ______________      $_________

            Trustee

            __________________________________________




Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                               page 5
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Debtor
                3333 Alpharetta Lifehope 10 Acre Land, LLC
               _______________________________________________________                                                  22-57594
                                                                                                 Case number (if known)_____________________________________
               Name




 13. Transfers not already listed on this statement

     List any transfers of money or other propertyby sale, trade, or any other meansmade by the debtor or a person acting on behalf of the debtor
     within 2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs.
     Include both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.


     
     ✔     None

            Who received transfer?                             Description of property transferred or payments received   Date transfer       Total amount or
                                                               or debts paid in exchange                                  was made            value



   13.1.    __________________________________________                                                                    ________________     $_________

            Address




            Relationship to debtor

            __________________________________________




            Who received transfer?                                                                                        ________________     $_________

   13.2.    __________________________________________

            Address




            Relationship to debtor

            __________________________________________



 Part 7:      Previous Locations

 14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.

          Does not apply
            Address                                                                                             Dates of occupancy


   14.1.    3330 Preston Ridge Road, Suite 380                                                                 From        08/01/2016
                                                                                                                          ____________       To   05/01/2022
                                                                                                                                                  ____________
            Alpharetta, GA 30005




   14.2.                                                                                                       From       ____________       To   ____________




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                 3333 Alpharetta Lifehope 10 Acre Land, LLC
                 _______________________________________________________                                                 22-57594
                                                                                                   Case number (if known)_____________________________________
                 Name




 Part 8:         Health Care Bankruptcies

 15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
      diagnosing or treating injury, deformity, or disease, or
      providing any surgical, psychiatric, drug treatment, or obstetric care?

     
     ✔     No. Go to Part 9.
          Yes. Fill in the information below.
            Facility name and address                        Nature of the business operation, including type of services the             If debtor provides meals
                                                             debtor provides                                                              and housing, number of
                                                                                                                                          patients in debtor’s care

   15.1.    ________________________________________                                                                                      ____________________
            Facility name


                                                             Location where patient records are maintained (if different from facility
                                                             address). If electronic, identify any service provider.                      How are records kept?


                                                                                                                                          Check all that apply:

                                                                                                                                             Electronically
                                                                                                                                             Paper

                                                             Nature of the business operation, including type of services the             If debtor provides meals
            Facility name and address                        debtor provides                                                              and housing, number of
                                                                                                                                          patients in debtor’s care

   15.2.                                                                                                                                  ____________________
            ________________________________________
            Facility name


                                                             Location where patient records are maintained (if different from facility    How are records kept?
                                                             address). If electronic, identify any service provider.

                                                                                                                                          Check all that apply:
                                                                                                                                           Electronically
                                                                                                                                          Paper

 Part 9:         Personally Identifiable Information

 16. Does the debtor collect and retain personally identifiable information of customers?

     
     ✔     No.
          Yes. State the nature of the information collected and retained. ___________________________________________________________________
                 Does the debtor have a privacy policy about that information?
                 
                    No
                    Yes
 17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other
     pension or profit-sharing plan made available by the debtor as an employee benefit?

     
     ✔     No. Go to Part 10.
          Yes. Does the debtor serve as plan administrator?
                    No. Go to Part 10.
                    Yes. Fill in below:
                        Name of plan                                                                           Employer identification number of the plan

                        _______________________________________________________________________                EIN: ___________________________________

                     Has the plan been terminated?
                           No
                           Yes



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                  _______________________________________________________                                                22-57594
                                                                                                  Case number (if known)_____________________________________
                  Name




 Part 10:         Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

 18. Closed financial accounts
     Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
     moved, or transferred?
     Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions,
     brokerage houses, cooperatives, associations, and other financial institutions.

     
     ✔     None
            Financial institution name and address         Last 4 digits of account        Type of account             Date account was        Last balance
                                                           number                                                      closed, sold, moved,    before closing or
                                                                                                                       or transferred          transfer

   18.1.     ______________________________________        XXXX–__________                 Checking                  ___________________      $__________
            Name
                                                                                            Savings
                                                                                            Money market
                                                                                            Brokerage
                                                                                            Other______________

   18.2.     ______________________________________        XXXX–__________                 Checking                  ___________________      $__________
            Name
                                                                                            Savings
                                                                                            Money market
                                                                                            Brokerage
                                                                                            Other______________

 19. Safe deposit boxes
     List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this case.

     
     ✔     None

              Depository institution name and address      Names of anyone with access to it            Description of the contents                  Does debtor
                                                                                                                                                     still have it?

             ______________________________________                                                                                                     No
            Name                                                                                                                                        Yes



                                                           Address




20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.

    
    ✔      None

              Facility name and address                    Names of anyone with access to it          Description of the contents                    Does debtor
                                                                                                                                                     still have it?
                                                                                                                                                       No
             ______________________________________
            Name
                                                                                                                                                       Yes



                                                            Address




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Debtor
              3333 Alpharetta Lifehope 10 Acre Land, LLC
              _______________________________________________________                                                 22-57594
                                                                                               Case number (if known)_____________________________________
              Name




 Part 11:       Property the Debtor Holds or Controls That the Debtor Does Not Own

 21. Property held for another
     List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in
     trust. Do not list leased or rented property.

     
     ✔   None

          Owner’s name and address                       Location of the property                   Description of the property                    Value

                                                                                                                                                  $_________
          ______________________________________
          Name




 Part 12:       Details About Environmental Information

 For the purpose of Part 12, the following definitions apply:
  Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material,
     regardless of the medium affected (air, land, water, or any other medium).
  Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor
     formerly owned, operated, or utilized.
  Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant,
     or a similarly harmful substance.

 Report all notices, releases, and proceedings known, regardless of when they occurred.


 22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.


     
     ✔   No
        Yes. Provide details below.
          Case title                                 Court or agency name and address               Nature of the case                        Status of case

          _________________________________                                                                                                       Pending
                                                     _____________________________________
          Case number                                Name                                                                                         On appeal

          _________________________________                                                                                                       Concluded




 23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
     environmental law?

     
     ✔   No
        Yes. Provide details below.

         Site name and address                       Governmental unit name and address             Environmental law, if known              Date of notice


          __________________________________         _____________________________________                                                    __________
          Name                                       Name




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Debtor
                3333 Alpharetta Lifehope 10 Acre Land, LLC
                _______________________________________________________                                             22-57594
                                                                                             Case number (if known)_____________________________________
                Name




 24. Has the debtor notified any governmental unit of any release of hazardous material?
     
     ✔     No
          Yes. Provide details below.

           Site name and address                     Governmental unit name and address           Environmental law, if known                Date of notice


            __________________________________      ______________________________________                                                     __________
            Name                                    Name




 Part 13:          Details About the Debtor’s Business or Connections to Any Business


 25. Other businesses in which the debtor has or has had an interest
     List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
     Include this information even if already listed in the Schedules.

     
     ✔     None


            Business name and address                Describe the nature of the business                   Employer Identification number
                                                                                                           Do not include Social Security number or ITIN.

                                                                                                           EIN: ________________________
   25.1.    __________________________________
            Name                                                                                           Dates business existed



                                                                                                           From ___________              To ____________




            Business name and address                Describe the nature of the business                   Employer Identification number
   25.2.                                                                                                   Do not include Social Security number or ITIN.

                                                                                                           EIN: ________________________
            __________________________________
            Name                                                                                           Dates business existed



                                                                                                           From ___________              To ____________




            Business name and address                Describe the nature of the business                   Employer Identification number
                                                                                                           Do not include Social Security number or ITIN.

   25.3.                                                                                                   EIN: ________________________
            __________________________________
            Name
                                                                                                           Dates business existed




                                                                                                           From ___________              To ____________




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Debtor
                   3333 Alpharetta Lifehope 10 Acre Land, LLC
                  _______________________________________________________                                               22-57594
                                                                                                 Case number (if known)_____________________________________
                  Name




 26. Books, records, and financial statements
     26a. List    all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.

                 None
              Name and address                                                                                Dates of service


              Honan Property Management                                                                       From 01/01/2018
                                                                                                                   _______
   26a.1.     __________________________________________________________________________________
              Name                                                                                               09/23/2022
              11680 great Oaks Way Suite 120, Atlanta, GA 30022                                               To _______




              Name and address                                                                                Dates of service

              Frzaier & Deeter, LLC                                                                           From 01/01/2020
                                                                                                                   _______
   26a.2.     __________________________________________________________________________________
              Name
              1230 Peachtree Street, NE                                                                         09/23/2022
                                                                                                             To _______




     26b.   List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial
            statement within 2 years before filing this case.
            
            ✔     None

                    Name and address                                                                          Dates of service

                                                                                                              From _______
         26b.1.     ______________________________________________________________________________
                    Name
                                                                                                              To _______




                                                                                                              Dates of service
                    Name and address

                                                                                                              From _______
         26b.2.
                    ______________________________________________________________________________
                    Name                                                                                      To _______




     26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.
            
            ✔     None
                    Name and address                                                                          If any books of account and records are
                                                                                                              unavailable, explain why


         26c.1.     ______________________________________________________________________________
                    Name




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Debtor
                    3333 Alpharetta Lifehope 10 Acre Land, LLC
                    _______________________________________________________                                            22-57594
                                                                                                Case number (if known)_____________________________________
                    Name




                     Name and address                                                                        If any books of account and records are
                                                                                                             unavailable, explain why


           26c.2.    ______________________________________________________________________________
                     Name




     26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial statement
          within 2 years before filing this case.

                   None

                     Name and address


           26d.1.    Capital One
                     ______________________________________________________________________________
                     Name
                      c/o Corporation Service Company 100 Shockoe Slip Fl 2, Richmond, VA 23219




                     Name and address



           26d.2.
                     Safehold, Inc.
                     ______________________________________________________________________________
                     Name
                      c/o Corporation Service Company, 2 SUN COURT, SUITE 400, Norcross, GA 30092




 27. Inventories
     Have any inventories of the debtor’s property been taken within 2 years before filing this case?
     
     ✔      No
           Yes. Give the details about the two most recent inventories.



               Name of the person who supervised the taking of the inventory                    Date of       The dollar amount and basis (cost, market, or
                                                                                                inventory     other basis) of each inventory


              ______________________________________________________________________           _______       $___________________

               Name and address of the person who has possession of inventory records


   27.1.       ______________________________________________________________________
              Name




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Debtor
                3333 Alpharetta Lifehope 10 Acre Land, LLC
                _______________________________________________________                                              22-57594
                                                                                               Case number (if known)_____________________________________
                Name




            Name of the person who supervised the taking of the inventory                     Date of          The dollar amount and basis (cost, market, or
                                                                                              inventory        other basis) of each inventory

            ______________________________________________________________________            _______         $___________________

            Name and address of the person who has possession of inventory records


   27.2.    ______________________________________________________________________
            Name




 28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other
     people in control of the debtor at the time of the filing of this case.
   Name                                      Address                                                 Position and nature of any interest      % of interest, if any
 3333 Alpharetta Lifehope MOB 1 JV,          11680 Great Oaks Way, Suite 120, Alpharetta, GA         Sole Member                             100
 LLC                                         30022




 29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?
    ✔ No

          Yes. Identify below.
   Name                                                                                                 Position and nature of any   Period during which position
                                                Address                                                 interest                     or interest was held


                                                                                                                                      _________ To _________


                                                                                                                                      _________ To _________


                                                                                                                                      _________ To _________


                                                                                                                                      _________ To _________

 30. Payments, distributions, or withdrawals credited or given to insiders
     Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws,
     bonuses, loans, credits on loans, stock redemptions, and options exercised?
     
     ✔     No
          Yes. Identify below.
                                                                                     Amount of money or description      Dates               Reason for providing
            Name and address of recipient                                            and value of property                                   the value

   30.1.    ______________________________________________________________            _________________________          _____________
            Name


                                                                                                                         _____________


                                                                                                                         _____________

            Relationship to debtor                                                                                       _____________

            ______________________________________________________________                                               _____________
Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                page 13
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Debtor
                   3333 Alpharetta Lifehope 10 Acre Land, LLC
                   _______________________________________________________                                                 22-57594
                                                                                                    Case number (if known)_____________________________________
                   Name




              Name and address of recipient
                                                                                            __________________________     _____________

   30.2       ______________________________________________________________
              Name                                                                                                         _____________

                                                                                                                           _____________



                                                                                                                           _____________


              Relationship to debtor                                                                                       _____________

              ______________________________________________________________



 31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?
     
     ✔       No
            Yes. Identify below.
              Name of the parent corporation                                                              Employer Identification number of the parent
                                                                                                          corporation

              ______________________________________________________________                             EIN: ____________________________



 32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?
     
     ✔       No
            Yes. Identify below.

              Name of the pension fund                                                                    Employer Identification number of the pension fund

              ______________________________________________________________                             EIN: ____________________________



 Part 14:            Signature and Declaration


             WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
             connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
             18 U.S.C. §§ 152, 1341, 1519, and 3571.

             I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information
             is true and correct.

             I declare under penalty of perjury that the foregoing is true and correct.

             Executed on       11/21/2022
                               _________________
                                MM / DD / YYYY



              /s/ Scott C Honan
              ___________________________________________________________                              Scott C Honan
                                                                                          Printed name _________________________________________________
              Signature of individual signing on behalf of the debtor

                                                 Designated Manager
              Position or relationship to debtor ____________________________________




         Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
             No
         
         ✔    Yes




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 Debtor Name                                                                                Case number (if known)



                                                     Continuation Sheet for Official Form 207
3) Certain payments or transfers to creditors within 90 days before filing this case

Genesis Elevator Company,                    $10,000.00
 Inc., 3400 Blue Springs
Road NW Suite 110,
Kennesaw, GA 30144




  Official Form 207                                 Statement of Financial Affairs for Non-Individuals
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                                                                                    SOFA 4 Attachment
Date               From Account                  Amount               Recipient                     Description
       1/31/2022                          3155            70,000.00   Honan Preferred Equity        Conduit transfer through related entity
       3/10/2022                          7829            50,000.00   Honan Preferred Equity        Catching Point Tenant
       3/14/2022                          7829             7,000.00   Sound Management Services LLC Mgmt Eng Personnel Cost
       3/23/2022                          7829            40,000.00   Honan Preferred Equity        Cleaning & Payroll
       5/10/2022                          7829            15,000.00   Honan Preferred Equity        Remodeling Pharmacy for new tenant
       5/11/2022                          7829             5,000.00   SIS Management                Mgmt Eng Personnel Cost
       5/12/2022                          7829            50,000.00   Honan Human Resources Payroll Credit for same amount on 05/13- conduit transfer
       5/13/2022                          7829             5,000.00   Sound Management Services LLC Mgmt Eng Personnel Cost
       5/13/2022                          7829            17,000.00   Honan Property Management     Property Management Cost
       5/27/2022                          7829            17,000.00   Cornerstone RHAL LLC          Remodeling Pharmacy for new tenant
        6/6/2022                          7829            10,000.00   Sound Management Services LLC Medical Services Imaging Certification
        6/6/2022                          7829             9,000.00   RICHMOND HONAN PROPERTY MANAGEMENT,
                                                                                                    ConduitLLC
                                                                                                             to pay Medical Services Imaging Certification costs
        6/6/2022                          7829            23,000.00   RICHMOND HONAN DEVELOPMENT ANDConduit
                                                                                                    ACQUISITIONS,
                                                                                                             to pay Medical
                                                                                                                    LLC     Services Imaging Certification costs
        7/1/2022                          7829             5,700.00   Cornerstone RHAL LLC          Medical Services Imaging Certifications and costs
        7/8/2022                          7829            80,000.00   RICHMOND HONAN DEVELOPMENT ANDPaid
                                                                                                    ACQUISITIONS,
                                                                                                         Ground Lease
                                                                                                                    LLCfrom entity
        8/5/2022                          7829            43,000.00   FPC MOBI Tenant Partners, LLC Medical Services Trinias Certifications and costs
       8/19/2022                          7829            10,000.00   Honan Preferred Equity        Property Management Cost
       8/26/2022                          7829            10,000.00   RICHMOND HONAN PROPERTY MANAGEMENT,
                                                                                                    PropertyLLCManagement Cost
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                                                        Document      Page 27 of 27
 Fill in this information to identify the case and this filing:

              3333 Alpharetta Lifehope 10 Acre Land, LLC
 Debtor Name __________________________________________________________________

                                         Northern District of Georgia
 United States Bankruptcy Court for the: ________________________________

                              22-57594
 Case number (If known):    _________________________




Official Form 202
De c la ra t ion U nde r Pe na lt y of Pe rjury for N on-I ndividua l De bt ors                                                                    12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit
this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document,
and any amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the
document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



            De c la ra t ion a nd signa t ure



         I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
         another individual serving as a representative of the debtor in this case.

         I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


             Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

             Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

         
         ✔    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

         
         ✔    Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

             Schedule H: Codebtors (Official Form 206H)

         
         ✔    Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)

             Amended Schedule ____


             Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)


             Other document that requires a declaration__________________________________________________________________________________




        I declare under penalty of perjury that the foregoing is true and correct.


                    11/21/2022
        Executed on ______________                          /s/ Scott C Honan
                                                               _________________________________________________________________________
                           MM / DD / YYYY                       Signature of individual signing on behalf of debtor



                                                                  Scott C Honan
                                                                ________________________________________________________________________
                                                                Printed name

                                                                  Designated Manager
                                                                ______________________________________
                                                                Position or relationship to debtor



Official Form 202                           Declaration Under Penalty of Perjury for Non-Individual Debtors
